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                          UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                           WESTERN DISTRICT OF KENTUCKY

In Re:                                    )     Case No: 21-30999
Manuel Stewart II                         )     Chapter 13
                                          )
                                          )
                           Debtor         )
________________________________________________________________________

                         MOTION TO MODIFY CONFIRMED PLAN

       Debtor, by counsel, hereby moves the Court to modify Debtor’s Chapter 13 plan, and in

support thereof, state as follows:

       1.      The Plan was originally confirmed as a 50% Plan scheduled for 60 months with

payments of $1400.00 monthly. Per Order of this Court entered on October 16, 2024, the Plan was modified

to a 100% plan with payments of $1,650.00 monthly for the remainder of the Plan.

       2.      Debtor’s plan will not pay out in the remaining months because Debtor is

delinquent on his plan payments due to repairs which needed to be performed on his home.

       3.      Debtor requests to increase the remaining plan payments to $2,230.00 monthly,

beginning with the payment due for February 2025, in order for Debtor’s plan to pay out on time.

       4.      Debtor proposes to make his plan payments by wage deduction in the amount of

$2,230.00 monthly. Debtor is currently working for the University of Texas and requests that a

modified wage deduction be sent to his employer. Said address will be provided to the Chapter

13 Trustee’s office.

       5.      Debtor requests that the arrears be waived and that the plan be deemed current.

       6.      Attorney for Debtor is requesting an award of $200.00 in attorney fees for the time

spent preparing and filing this motion as she was not the original attorney of record when this case

was filed.
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        WHEREFORE, the Debtor requests that his Chapter 13 plan be modified to allow the

foregoing changes.

        Date: January 7, 2024                 Respectfully submitted:

                                                     /s/ Tracy L. Hirsch
                                                     Tracy L. Hirsch
                                                     Hirsch Law PLLC
                                                     8011 New LaGrange Rd #4
                                                     Louisville, KY 40222
                                                     (502) 365-2772
                                                     (888) 640-3210
                                                     thirsch.bkatty@gmail.com



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion to Modify
Confirmed Plan on this 7th day of January 2024 was forwarded to William Lawrence, Trustee,
and all interested parties pursuant to the local rules relating to ECF and service of documents
filed herein.

                                                     Respectfully submitted:

                                                     /s/ Tracy L. Hirsch
